 Case 3:11-md-02244-K Document 1102 Filed 05/01/20               Page 1 of 2 PageID 43037
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OFTEXAS



 IN RE: DEPUY ORTHOPAEDICS, INC,                                   MDL No. 3:11-md-02244-K
 PINNACLE HIP IMPLANT PRODUCTS
 LIABILITY LITIGATION                                              Hon. Ed Kinkeade

 This Document Relates to:
 Plaintiffs listed on the attached Exhibit A




                      NOTICE OF TRANSFER TO INACTIVE STATUS
        PLEASE TAKE NOTICE that effective April 1, 2020 Baird Brown was transferred to
 inactive status by the California Bar.


Date: May 1, 2020                                 Respectfully submitted,

                                                  /s/ Baird A. Brown_____________________
                                                  Baird A. Brown
                                                  LAW OFFICES OF BAIRD BROWN, PC
                                                  3055 Wilshire Boulevard, Ste 980
                                                  P (213) 487-8880
                                                  F (213) 487-8884
                                                  bairdbrownlaw@gmail.com
                                                  Attorney for Plaintiffs




                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of May, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent notification
of such filing to the CM/ECF participants registered to receive services in this MDL.


                                                    /s/ Lucas Granillo
                                                   Lucas Granillo
Case 3:11-md-02244-K Document 1102 Filed 05/01/20             Page 2 of 2 PageID 43038



                                        Exhibit A


3:14-cv-01587-K; Donna Wooten v. DePuy Orthopaedics, Inc. et al.
3:14-cv-01589-K; Daisy Legrand v. DePuy Orthopaedics, Inc. et al.
3:14-cv-02608-K; Maria Del Carmen Rio v. DePuy Orthopaedics, Inc. et al.
3:18-cv-02889-K; Larry Stahlhut v. DePuy Orthopaedics, Inc. et al.
3:19-cv-00403-K; Elijah Dennis v. DePuy Orthopaedics, Inc. et al.
